                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )          No. 3:13-00209
                                               )          JUDGE CAMPBELL
JUAN COLLAZO                                   )

                                            ORDER

         Pending before the Court is the United States’ Motion to Quash Subpoena (Docket No.

67). The Court held a hearing on the Motion on April 10, 2014. For the reasons stated on the

record, the Motion is GRANTED in part, and DENIED in part.

         It is so ORDERED.



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                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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